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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

THE BOARD OF REGENTS OF THE          §
UNIVERSITY OF TEXAS SYSTEM,          §
                                     §
                     Plaintiff,      §
                                     §
                                     §
v.                                   §                     Civil Action No. 4:16-cv-03155
                                     §
NANTHEALTH, INC.;                    §
NANTWORKS, LLC;                      §
NANT HOLDINGS IP, LLC;               §
And DR. PATRICK SOON-SHIONG,         §
                                     §
                     Defendants.     §
____________________________________ §

                   DECLARATION OF PATRICK SOON-SHIONG, M.D.

       I, Dr. Patrick Soon-Shiong, declare under penalty of perjury under the laws of the United

States that the following is true and correct.

       1.      I am submitting this declaration in support of Defendants’ Motion to Dismiss for

Lack of Personal Jurisdiction or, In the Alternative, To Transfer. I have personal knowledge of

the following facts and am competent to testify thereto.

Education and Professional Background

       2.      I graduated in 1975 as an MD fourth in my class of 200 from the University of

Witwatersrand, Johannesburg, South Africa at the age of 23 and completed a master’s degree in

science four years later at the University of British Columbia, Vancouver, Canada. By the age of

31 I had completed my fellowship as a board-certified surgeon in Canada and I then received

board certification from the American College of Surgeons in 1996.

       3.      I am a trained physician, surgeon and scientist. Over the course of my career, I



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have pioneered novel therapies for both diabetes and cancer, published over 100 scientific

papers, abstracts and book chapters, and am a named inventor on over 230 issued United States

and international patents spanning myriad fields including medicine, artificial intelligence, and

technology. In the early 1990s, I pursued the science of stem cell and nanotechnology at NASA,

performing experiments as part of the Shuttle program. My path to cancer research began while

conducting research for NASA that involved harnessing stem cells to make insulin. In 1991, I

founded a biotechnology company to develop a novel nanoparticle anticancer drug with the

concept of using “the tumor’s biology against itself.” From 1997 to 2010, I served as Founder,

Chairman and Chief Executive Officer of two global pharmaceutical companies, American

Pharmaceutical Partners and Abraxis BioScience. I invented and developed Abraxane, a drug

approved by the Food and Drug Administration (“FDA”) for metastatic breast cancer in 2005,

lung cancer in 2012, and pancreatic cancer in 2013.   I am involved in a variety of philanthropic

efforts, including serving as the Chairman of the Chan Soon-Shiong Family Foundation and of

the Chan Soon-Shiong Institute of Molecular Medicine, a non-profit medical research

organization. I recently gave $135 Million to Saint John's Health Center to build a biotech

research center and sports medicine clinic and underwrote $100 Million to help reopen the

Martin Luther King Jr. Hospital to serve an otherwise underserved community without access to

adequate health care. My wife and I have signed the Giving Pledge, an initiative launched by

Warren Buffett and Bill Gates, through which we have committed to giving the majority of our

wealth to philanthropic causes and charitable organizations.

       4.      My current positions include:

               a.     Chairman & CEO – NantWorks, LLC

               b.     Chairman & CEO – NantHealth, Inc.




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         c.     Chairman & CEO – NantKwest, Inc.

         d.     Founder & Chairman – Chan Soon-Shiong Family Foundation

         e.     Executive Director – Wireless Health Institute (WHI) UCLA

         f.     Adjunct Professor of Surgery at UCLA

         g.     Visiting Professor of Imperial College of London

         h.     Professor of Microbiology, Immunology & Molecular Genetics and

         Professor of Bioengineering at the California NanoSystems Institute of UCLA

   5.    My former positions include:

         a.     Founder, Chairman and CEO – American Pharmaceutical Partners (APP)

         b.     Founder, Chairman and CEO – Abraxis BioScience

         c.     Global Advisory Board – Bank of America

         d.     Co-chair of the CEO Council for Health and Innovation at the Bipartisan

                Policy Center

   6.    Selected awards and honors include:

         a.     Eisenhower Medical Center, Peter Kiewit Distinguished Membership in

                Medicine (1994)

         b.     Gilda’s Club New York City, Award for the Advancement of Cancer

                Medicine (2006)

         c.     Caritas Gala Award Honoree (2007)

         d.     Ellis Island Medal of Honor Award Recipient (2007)

         e.     USC Viterbi School of Engineering, Daniel J. Epstein Engineering

                Management Award (2008)

         f.     Martin Luther King Jr. Labor Breakfast Tribute: LA County Federation of




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                       Labor, L.A. Union (2010)

               g.      Friends of the National Library of Medicine: 2010 Distinguished Medical

                       Science Award (2010)

               h.      City of Hope – 2012 Honorary Degree Recipient (2012)

               i.      UCLA Medical Center Visionary Ball, “Medical Visionary Award”

                       (2013)

       7.      Most recently, April 2016, I received the Franklin Institute Award for visionary

leadership and commitment to advancing medical and scientific research and bringing new

treatment options to cancer patients. I was also honored at the Vatican in April 2016 and

received the 2016 Pontifical Key Visionary Award. The award recognizes “medical innovators

who change the course of history and reduce suffering on a global scale by blending visionary

thinking with real action.”

Original Scientific Contributions

       8.      Since the late 1980s, I pursued the science of transplantation, protein-protein

interaction, stem cell and nanotechnology at UCLA and NASA, performing experiments as part

of the Shuttle program (STS-80). My path to cancer research began while conducting research

for NASA that involved harnessing the stem cells to make insulin.

       9.      My original scientific contributions, outlined below in scientific publications as

well as scientific meetings, span the field of biology, immunology and biological mechanisms of

cancer as follows:

               a.      Pancreas Physiology in Man (1987): Elucidation of Enzymatic

                       Pancreatic Function in Man. In 1982, together with Dr. Swafford we

                       performed the nation’s first whole organ auto transplant of the pancreas in




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                  a patient with pancreatitis. This successful operation enabled the study of

                  how insulin and pancreatic enzymes are secreted in response to glucose in

                  the absence of any nerve connections:

                i.       Soon-Shiong P, Swafford G, Levin S: Successful long-term

                         exocrine and endocrine function in the auto transplanted pancreas

                         in man. Pancreas 2(3): 357-61, 1987;

         b.       Original Discovery of Monoclonal Antibody Purification of Pancreatic

                  Islet Cell (1988-1991).       In 1985-1990, we identified immunological

                  methods and novel antibodies present in human pancreatic cells:

                i.       Soon-Shiong P, Heintz R, Terasaki P: An immunological method

                         of islet cell purification using cytotoxic anti-acinar cell monoclonal

                         antibodies. Transplant Proc 20 (suppl 1):61-63, 1988;

              ii.        Soon-Shiong P, Heintz R, Terasaki P: Characterization of

                         monoclonal antibodies CBL3 and TT62 with differing antigenic

                         determinants specific for isolated human islet cells. Biochem

                         Biophys Res Comm 150(2): 775-80, 1988;

              iii.       Soon-Shiong P, Heintz R, Terasaki P: Identification of novel blood

                         group-reactive monoclonal antibodies cytotoxic to human acinar

                         cells but not islets. Transplant Proc 21(1 Pt 3): 2622-3, 1989; and

              iv.        Soon-Shiong P, Terasaki P, Lanza RP: Immunocytochemical

                         identification of monoclonal antibodies with binding activity to

                         acinar cells but not islets. Pancreas 6(3): 318-23, 1991;

         c.       Original   Development        of   Microencapsulation      Technology        &




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                  Discoverer of Immunological Responses to Alginate (1991).            From

                  1985 to 1995, we developed unique delivery systems involving sugars

                  (polysaccharides) and proteins for the treatment of life threatening

                  diseases such as diabetes and liver failure in cancer. From scientific

                  concept in the late 1980s to translation into man in the form of clinical

                  trials, was accomplished in less than ten years:

                i.       Soon-Shiong P, Otterlie M, Skjak-Braek G, Smidsrod O, Heintz R,

                         Lanza RP, Espevik T: An immunological basis for the fibrotic

                         reaction to implanted microcapsules. Transplant Proc 23(1 Pt

                         1):758-9, 1991;

              ii.        Sawhney     A,    Soon-Shiong     P,   Hubbell   J:   Biocompatible

                         microcapsules for in vivo transplantation of animal tissue. Trans

                         Soc for Biomaterials 14, 1991;

              iii.       Soon-Shiong P, Heintz R, Merideth N, Feldman E, Nelson R,

                         Skjak-Braek G, Smidsrod O, Espevik T, Otterlei M: Successful

                         reversal of Type I diabetes by a bioartificial pancreas. Diabetes

                         40(1):295A, 1991; and

              iv.        Otterlei, Ostgaard K, Skjak-Braek G, Smidsrod O, Soon-Shiong P,

                         Espevik T: Induction of cytokine production from human

                         monocytes stimulated with alginate. J Immunother 10: 286-91,

                         1991;

         d.       Early Demonstration of Role of Natural Killer Cells (1990).

                  Demonstration of the efficacy of specific cytotoxicity by cytotoxic T-




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               lymphocyte (CTL) and nonspecific killing by Natural Killer (NK) cells

               against pancreatic tumor cells. This work in 1990, has formed the basis of

               Cancer MoonShot 2020 in which the realization that Natural Killer cells

               are involved in the innate protection of man against cancer. We pursued

               this concept and by 2015, have demonstrated safety and efficacy in

               patients with multiple myeloma, non-Hodgkin lymphoma, acute myeloid

               leukemia and solid tumors. To our knowledge, none of this clinical trials

               or basic research in natural killer cells as a MoonShot program has been

               performed at MD Anderson to date. Furthermore, by 2015 we raised funds

               to build manufacturing plants and since demonstrated complete responses

               of Natural Killer cell activity in patients with Merkel Cell Melanoma.

               This concept of “Off-the-shelf Natural Killer cell” platform was conceived

               since 1992 and launched into clinical trials over a decade ago and is key to

               Cancer MoonShot 2020, where activated natural killer cells (NK-92) have

               completed Phase I trials and is now in mid-stage to late-stage trials across

               the nation. There are no such trials using our off-the-shelf NK-92 cells

               present at MD Anderson where they state in a recent 2015 post:

                      “If natural killer cells can be obtained and prepared
                      efficiently, then natural killer cell therapy could become
                      readily available to cancer patients. One of the upcoming
                      solid tumor studies will test whether natural killer cells can
                      feasibly be generated from blood bank products as an off-
                      the-shelf product to be stored frozen and ready to thaw and
                      infuse into patients.”

               Thus in comparison to this statement above, the off-the-shelf Natural

               Killer cell element of our Cancer MoonShot 2020 program is significantly




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                 more advanced in the clinic when compared to any program at MD

                 Anderson and began as early as 1990. The NK Cancer MoonShot 2020

                 began from the concept of the role of Natural Killer cells in 1990

                 (publication below), to the discovery of off-the-shelf NK-92 in 1992 at the

                 University of British Columbia by Dr. Hans Klingemann, to the founding

                 and launch of NantKwest as a public company, (2015) and has now

                 reached the stage of large-scale manufacturing capacity for all cancer

                 types.

               i.         P Soon-Shiong, Z.-N. Lu, I. Grewal, R. Lanza and W. Clark

                          Molecular Biology Institute, University of California, USA

                          Departments of Medicine and Surgery, University of California

                          Medical Center, and Surgical and Research Services, VA

                          Wadsworth Medical Center, Los Angeles, California, USA:

                          Prevention of CTLA and NK Cell-Mediated Cytotoxicity by

                          Microencapsulation;

         e.      World’s First Reversal of Type I Diabetes in Diabetic Dogs Using

                 Micro-Encapsulated Insulin Producing Cells (1992-1994):

               i.         Soon-Shiong P, Feldman E, Nelson R, Komtebedde J, Smidsrod 0,

                          Skjak-Braek G, Espevik T, Heintz R, Lee M: Successful reversal

                          of   spontaneous       diabetes   in   dogs   by    intraperitoneal

                          microencapsulated islets. Transplantation 54: 769-74, 1992;

              ii.         Soon-Shiong P, Reversing Diabetes, R&D Directions 12-16,

                          December 1995;




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              iii.       Soon-Shiong P, Sandford P: Encapsulated islet cell therapy for the

                         treatment of diabetes: intraperitoneal injection of islets. Surgical

                         Technology International IV:93-95, 1995;

              iv.        Soon-Shiong, P. Encapsulated islet transplantation: Pathway to

                         human clinical trials. Pancreatic Islet Transplantation III 81-92,

                         1994; and

               v.        Soon-Shiong P, Feldman E, Nelson R, Heintz R, Yao Q, Yao Z,

                         Zheng T, Merideth N, Skjak-Braek G, Espevik T, Smidsrod O,

                         Sandford P: Long-term reversal of diabetes by injection of

                         immunoprotected islet cells. Proc Natl Acad Sci 90(12): 5843-7,

                         1993;

         f.       World’s First Reversal of Type I Diabetes in Patients Using Micro-

                  Encapsulated Insulin Producing Allogenic & Stem Cells (1993-1995).

                  Our demonstrated ability to translate from basic scientific concept (1991),

                  see ‘paragraph c’ above to clinical trials (1993) of a revolutionary delivery

                  system in man for the treatment of a life-threatening disease is evident by

                  the experience below. This ability to rapidly translate scientific insight

                  into clinical applications is the core to Cancer MoonShot 2020 where the

                  goal is to reduce the time of application of combination immunotherapy,

                  natural killer cell therapy, and vaccine therapy from ten years to five:

                i.       Whole Organ Pancreas Transplant: Allograft Whole Organ

                         (1986-1988) – (Exhibit 1):

                         1.      Dec 5, 1986 – I performed California’s first pancreas whole




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                           organ pancreas transplant in a type I diabetic patient at

                           UCLA; and

                     2.    January 24, 1988 – I performed California’s first combined

                           kidney pancreas transplant in a type I diabetic patient at

                           UCLA;

              ii.    Microencapsulated Pancreas Transplant: Allograft Islet Cell

                     (1993-1994):

                     1.    May 14,         1993   –   I performed   the   world’s   first

                           microencapsulated artificial islet cell transplant in a type I

                           diabetic and published the data in 1994 below: (Exhibit 2)

                           a.       Soon-Shiong P, Heintz R, Merideth N, Yao Qiang

                                    X, Yao Z, Zheng T, Murphy M, Moloney M,

                                    Schmehl M, Harris M, Mendez R, Sandford P:

                                    Insulin independence in a Type I diabetic patient

                                    after encapsulated islet transplantation. Lancet

                                    343(8903): 950-1, 1994

             iii.    Microencapsulated Pancreas Transplant: Allograft Adult Islet

                     Stem Cell (1995):

                     1.    By 1995, I performed the nation’s first encapsulated islet

                           cell stem cell transplant. The results were presented by the

                           Juvenile Diabetes Foundation of 25 years’ progress in

                           Diabetes. (Exhibit 3)

             iv.     Microencapsulated Xenotransplant: Xenograft Pig to Man




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                       Islet Cell Transplant (1998):

                       1.     In 1998 I performed the world’s first alginate based micro-

                              encapsulated pig to man islet cell transplant at the

                              University of Auckland New Zealand and my collaborator,

                              Professor Elliott presented data at the 1st International

                              Conference on Clinical Islet Xenotransplantation in Osaka,

                              Japan. (Exhibit 4)

         g.     Evolution    of   Cancer     Chemotherapy     Delivery    &    Low-Dose

                Metronomic Chemotherapy (1997 – 2016).           In the early 1990s, we

                invented the first human protein nanoparticle to deliver chemotherapy at a

                higher concentration and a lower dose to the tumor microenvironment.

                Again, we demonstrated the capability to execute from concept (ABI-007

                Protein Nanoparticle) to clinical trial to FDA approval (Abraxane) in a

                span of a decade. The goal of Cancer MoonShot 2020 is to reduce this

                time from a decade to three to five years such that a cancer vaccine is

                approved by the year 2020. This differs significantly from multiple

                “moonshots” at multiple programs.

              i.       World’s First Invention of the Human Protein Nanoparticle

                       Delivery System to Accomplish Transcytosis to the Tumor

                       Microenvironment (1997-2016):

                       1.     Desai NP, Tao C, Magdassi SM, Ci S, Yang A, Louie L,

                              Valente G, Yao Z, Zheng T, Sandford P, Spaulding G,

                              Soon-Shiong P: Protein-stabilized nanoparticles as drug




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                           delivery vehicles. 23rd Annual Meeting of the Society for

                           Biomaterials, 4/30-5/4, 1997, New Orleans, Louisiana,

                           USA; and

                     2.    Since this initial publication, I have received allowance and

                           published over 149 patents (46 in the United States and 103

                           foreign) patents covering this nanoparticle technology

                           demonstrating its effectiveness to transcend the endothelial

                           cell barrier and allow delivery of low dose chemotherapy to

                           the tumor microenvironment to enable activation of the

                           body’s immune system for tumor killing. (Exhibit 5)

              ii.    FDA & Global Approval of Abraxane, the World’s First

                     Albumin Based Nanoparticle of Paclitaxel for Breast Cancer,

                     Lung Cancer, and Pancreatic Cancer (2005-2014) – Exhibit 6:

                     1.    Ibrahim NK, Desai N, Legha S, Soon-Shiong P, Theriault

                           RL, Rivera E, Esmaeli B, Ring SE, Bedikian A, Hortobagyi

                           GN, Ellerhorst JA. Phase I and pharmacokinetic study of

                           ABI-007,        a     Cremophor-free,     protein-stabilized,

                           nanoparticle formulation of paclitaxel. Clin Cancer Res.

                           8(5):1038-44, 2002;

                     2.    Intraarterial Chemotherapy with Polyoxyethylated Castor

                           Oil Free Paclitaxel, Incorporated in Albumin Nanoparticles

                           (ABI-007);

                     3.    Nanoparticle Paclitaxel Formulation Shows Dose Response




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                           in Phase II Trials;

                     4.    Nanoparticle Paclitaxel Doubles Response Rate; and

                     5.    FDA Approves New Drug, Abraxane, for Treatment of

                           Advanced Breast Cancer;

             iii.    Demonstration of Transcytosis and Rapid Absorption by

                     Tumor Tissue Through Gp60 Receptor and Role of Low-Dose

                     Metronomic Chemotherapy – Exhibit 7

                     1.    Nanoparticle Paclitaxel Doubles Response Rate;

                     2.    Drawing a Bead on Side Effects: Drugmakers are figuring

                           out ways to make some old remedies safer;

                     3.    Ng SS, Sparreboom A, Shaked Y, Lee C, Man S, Desai N,

                           Soon-Shiong P, Figg WD, Kerbel RS. Influence of

                           formulation vehicle on metronomic taxane chemotherapy:

                           albumin-bound versus cremophor EL-based paclitaxel. Clin

                           Cancer Res. 12(14 Pt 1):4331-8, 2006; and

                     4.    Gemcitabine Plus nab-Paclitaxel is an Active Regimen in

                           Patients with Advanced Pancreatic Cancer: A Phase I/II

                           Trial;

             iv.     Demonstration that Abraxane is Effective in Metastatic

                     Pancreatic Cancer at Metronomic Low Doses and Activation of

                     the Immune System Can Achieve Sustainable Long Term

                     Remission in Patients with End-Stage Pancreatic Cancer –

                     Exhibit 8




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                           1.       Ng SS, Sparreboom A, Shaked Y, Lee C, Man S, Desai N,

                                    Soon-Shiong P, Figg WD, Kerbel RS. Influence of

                                    formulation vehicle on metronomic taxane chemotherapy:

                                    albumin-bound versus cremophor EL-based paclitaxel. Clin

                                    Cancer Res. 12(14 Pt 1):4331-8, 2006;

                           2.       Gemcitabine Plus nab-Paclitaxel is an Active Regimen in

                                    Patients with Advanced Pancreatic Cancer: A Phase I/II

                                    Trial;

                           3.       60 Minutes CBS Story on Dr. Patrick Soon-Shiong;

                           4.       David R. Pancreatic Cancer Patient; and

                           5.       Diane R. Pancreatic Cancer Patient.

History of the “Rocketship” Concept
      10.    Formation of the “Rocketship” (2005-Current) (Exhibit 9, Page 1).

             a.     Since 1995, I had the firm belief that integration and collaboration was

                    needed to advance science and translational medicine in the field of

                    cancer, diabetes, and life threatening diseases. I was invited to present

                    these views by the director of the National Institutes of Health (Natcher

                    Conference Center), (Exhibit 9, Page 2) at the Biomaterials and Medical

                    Implant Science: Present and Future Perspectives. A National Institutes of

                    Health Workshop. October 16-17, 1995. At that conference, I stated that

                    “breakthrough     therapies    involving biomaterials     delivered   through

                    minimally invasive techniques will revolutionize the treatment of life-

                    threatening diseases for which no effective therapy currently exists.” I

                    noted further that “the promise of such therapy is evidenced by the


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               successful reversals of Type 1 diabetes in patients by a simple injection of

               self-regulating,   insulin-secreting   cells     that     are   protected   by   a

               semipermeable biomaterial membrane. Next-generation therapeutic

               delivery systems will allow interaction with the biological milieu and

               provide new therapies through specific targeting of therapeutic agents to

               diseased organs, through non-viral delivery of gene products, and

               through self-regulated release of hormones or peptides. The implications

               for health care in the United States, for patients afflicted with chronic

               debilitating diseases, for the scientific community, and for the U.S.

               economy are enormous. To realize the full potential of these biological

               interactive   systems,   it    is   imperative     that     a   multidisciplinary

               infrastructure be established to allow the full integration of scientists

               working in fields as diverse as clinical medicine, surgery, biomaterial

               science, and cellular and molecular biology. Such institutions will be the

               pharmaceutical production sites of the future and will facilitate the

               rapid transition of discoveries from the laboratory bench to proof-of-

               principle in man as safely and efficiently as possible.”

         b.    This insight formed the basis of the build out of the Rocketship leading to

               Cancer MoonShot 2020. It is this Rocketship together with a detailed

               briefing document that was provided to Dr. Lynda Chin on multiple

               occasions, including a visit by Dr. Ronald DePinho and Dr. Lynda Chin*

         c.    IOM Report (2009) (Exhibit 9, Page 8).             To pursue the Rocketship

               concept, I established the non for profit, Institute of Advance Health and




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               sponsored a meeting at the Institute of Medicine in Washington DC to

               present the scientific basis for the nation to pursue grid computing,

               interoperability,   and   a    clinical   learning   system   for   healthcare

               transformation. The concept was termed the “Rocketship” (Exhibit 9,

               Page 1). The agenda, attendees, and draft report of the discussions are

               attached (Exhibit 9, Pages 8-18).

         d.    Since 2009, we have built the infrastructure of the Rocketship including a

               national layer one fiber enabling the transfer of genomic data at terabyte

               speeds, a supercomputer enabling bioinformatics machine learning

               artificial intelligence to deduce mutations at speeds of less than 60 seconds

               per patient enabling clinical utility of cancer genome data. This

               Rocketship formed the basis of Cancer MoonShot 2020 program which

               was launched in 2015 and publicly announced in 2016.

         e.    Details of the Cancer MoonShot 2020 program was provided in a briefing

               document to President Clinton in January 2014 (Exhibit 10) and the

               document was shared with Dr. Lynda Chin (Email Exhibit 11) in January

               2014. At that time, Dr. DePinho and Dr. Lynda Chin was invited to

               participate in the Omics Network and Genomics America as outlined in

               the briefing document (Exhibit 10).

   11.   Scientific and clinical disagreement with MD Anderson regarding high dose

         chemotherapy vs. low dose metronomic use (1998-Present)

         a.    Around 1998, I initiated a Phase I clinical trial of our nanoparticle (ABI-

               007) at MD Anderson. The dose extended to 360mg per meter2 and the




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                study showed that at that dose, the drug significantly reduced the patient’s

                white cells and hence impaired the immune system. The results of the

                Phase I trial were published in 2002: Ibrahim NK, Desai N, Legha S,

                Soon-Shiong P, Theriault RL, Rivera E, Esmaeli B, Ring SE, Bedikian A,

                Hortobagyi GN, Ellerhorst JA. Phase I and pharmacokinetic study of ABI-

                007, a Cremophor-free, protein-stabilized, nanoparticle formulation of

                paclitaxel. Clin Cancer Res. 8(5):1038-44, 2002

         b.     On the basis of this data, I requested that our Phase II trial should proceed

                with a low, metronomic weekly dose, but MD Anderson refused,

                demanding instead that a dose three times higher (300mg/m2)every three

                weeks) be the mid-stage trial dose for breast cancer. My concern was at

                this dose the patient’s white cells would be obliterated and the immune

                system would be impaired, inducing unnecessary toxicities with poorer

                outcomes. I was given an ultimatum that unless I agreed to the higher

                dose, MD Anderson would not pursue the trial. On that basis, I chose to

                leave MD Anderson and instead performed the trial at a lower dose at

                Northwestern University.

         c.     By 2000, we performed at the Instituto Nazionale Tumori, Milano Italy

                clinical trials of ABI-007 in patients Squamous Cell Carcinoma of the

                head and neck demonstrating an 80.9% complete and partial response with

                a recommended Phase II dose of 230mg/m2, validating my desire to

                pursue lower dose chemotherapy. This data was published in 2001:

              i.       Intraarterial Chemotherapy with Polyoxyethylated Castor Oil Free




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                         Paclitaxel, Incorporated in Albumin Nanoparticles (ABI-007)

         d.       By 2006, we clearly demonstrated the advantage of metronomic low dose

                  Abraxane therapy and instituted this protocol in patients with metastatic

                  pancreatic cancer.

                i.       Ng SS, Sparreboom A, Shaked Y, Lee C, Man S, Desai N, Soon-

                         Shiong P, Figg WD, Kerbel RS. Influence of formulation vehicle

                         on metronomic taxane chemotherapy: albumin-bound versus

                         cremophor EL-based paclitaxel. Clin Cancer Res. 12(14 Pt

                         1):4331-8, 2006;

              ii.        David R. Pancreatic Cancer Patient (Exhibit 8); and

              iii.       Diane R. Pancreatic Cancer Patient (Exhibit 8);

         e.       By 2014, after multiple visits between ourselves and Dr. DePinho and Dr.

                  Lynda Chin, the sharing of the briefing document (Exhibit 11) it was clear

                  that this scientific and clinical disagreement regarding the immunotherapy

                  approach to treating cancer patients persisted between ourselves and

                  leadership (Dr. DePinho and his wife Dr. Chin). On that basis, we made

                  the decision not to fund Dr. DePinho and Dr. Lynda Chin since our

                  concern that instituting high-dose chemotherapy is contrary to the concept

                  of preserving the immune system and contrary to the core principles of

                  Cancer MoonShot 2020. Based on this decision that Dr. DePinho and Dr.

                  Chin’s vision of cancer therapy was inconsistent with Cancer MoonShot

                  2020, they were not invited guests to the working group session of the

                  Omics Network held in New York on December 3, 2014. The issues




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                       being addressed by the working group included:

                     i.       Formation of The National Cancer Provider Health Network

                   ii.        Participation of the Self-Insured and Payers

                   iii.       Defining the Hereditary Basis of Cancer, Chronic Diseases and

                              Childhood Disease

                   iv.        Pharma Addressing the Challenge of Heterogeneity of Cancer

                    v.        Global Collaborative

                       Attendees included members across this entire ecosystem from both

                       national and international bodies. The assertion by Dr. DePinho and Dr.

                       Chin that we usurped their moon shot program is baseless when the

                       agenda provided clearly demonstrates a program unique to Cancer

                       MoonShot 2020.

       12.    Health Transformation Institute (HTI) formation to implement Rocketship

(2009). In collaboration with the University of Arizona, President Michael Crow, we established

the Healthcare Transformation Institute to further the concept of the “Rocketship” as an

aspiration to transform healthcare-the beginnings of the “moonshot”. The term “Rocketship”

was coined based on, among other things, our background work with NASA and artificial

intelligence needed to transform healthcare, cancer care, and life threatening diseases such as

diabetes. There was also collaboration with National Institute of Clinical Excellence (NICE) in

the United Kingdom to pursue the “Rocketship.” (See Exhibit 13).




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Background on the Creation of the Naming and Trademark “Cancer MoonShot 2020”

Program

       13.     This case involves the name of the Cancer MoonShot 2020 program, one of the

most comprehensive, collaborative initiatives launched to date seeking to accelerate the potential

of combination immunotherapy as the next generation standard of care in cancer patients. The

program initiative aims to explore a new paradigm in cancer care by initiating trials involving 20

tumor types in 20,000 patients by 2020. These findings will inform additional trials and the

aspirational “moonshot” to develop an effective vaccine-based immunotherapy to combat cancer

by 2020.

       14.     The Cancer MoonShot 2020 program invites collaboration across pharma,

community and academic oncology, government, and scientific communities. This joint

approach would provide researchers with necessary testing materials and patients with more

opportunities to participate through local facilities and wider insurance coverage.

       15.     Ultimately, the aim of the moonshot is to win the war on cancer -- to reach a point

in five years where we manage cancer the same way we might manage any chronic disease, such

as diabetes or asthma. The goal is to reduce the time from a decade to five years when we can

finally stop the practice of administering toxic therapies, such as high-dose chemotherapy and

high-dose radiation that decimate the immune system, and instead transform cancer care by

harnessing the full power of our own innate protective immune system we are born with, the

guardian cell called the Natural Killer cell. By activating the body’s natural killer cells to fight

off the cancer the way they were designed to do and by supplementing with off-the-shelf NK

cells, we strive to end cancer as we know it by the year 2020 across all tumor types and at all

stages. This program is distinct from Dr. DePinho and Dr. Lynda Chin’s pursuit of high dose




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chemotherapy and checkpoint inhibitors. The goal of Cancer MoonShot 2020 is definitive with a

timeline and timeframe (within the next four years) when the science of natural killer cells is

validated and patients are not only surviving the diagnosis, but living – even thriving – with

cancer.

Introduction of Cancer MoonShot 2020 to the US Government

          16.   My ideas for a cancer moonshot are what informed Vice President Joe Biden and

his plans for a Government-backed moonshot program. The fight against cancer is a non-partisan

issue.    Indeed, in addition to encouraging the current administration, I recently met with

President-Elect Donald Trump to encourage his administration to continue the fight against

cancer by establishing a national and global collaborative in which our innate protective system

could be harnessed and change the course of this disease forever.

          17.   My discussions with the current administration regarding the fight against cancer

began in 2015, when Vice President Biden contacted me around April 2015 seeking advice with

regard to his son’s brain cancer and a request to interact with the treating physicians at MD

Anderson. Over the course of multiple personal interactions with Vice President Biden, he

became acutely aware of the paradigm change in cancer care and our natural killer cell and

vaccine approach, as well our cutting-edge development known as “Whole Genomic Sequencing

and Proteomics” to better inform treatment of patients suffering from cancer. This form of

analysis was not present at MD Anderson in 2015 and is still not available as a clinical CLIA-

CAP Certified test. It is this test that is a core of the Cancer MoonShot 2020 program and hence

completely differentiated from any “moonshot” program currently in motion at MD Anderson.

          18.   On October 6, 2015, I met with Vice President Biden at the White House. Exhibit

12 is comprised of photographs from the White House meeting. In preparation for this meeting,




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I wrote a white paper with input from the Genomics America coalition, titled “The Precision

Against Cancer PAC: The Moonshot Program to Develop a Cancer Vaccine for ‘I am N =

1’” with the concept of a vaccine-based immunotherapy and the Cancer MoonShot 2020

initiative. See Exhibit 14. I provided Vice President Biden and his advisors with a copy of this

white paper during our October 6 meeting. I began the paper by explaining that, “In the way

that JFK took us to the moon, this Administration has the opportunity to complete its own

moonshot moment.” I went on to describe how, with the advent of next-generation genomic

sequencing and precision immunotherapies, there is the possibility of creating patient-specific

cancer vaccines and harnessing the patient’s own natural killer cells that can treat and prevent

the recurrence of cancer. I went on to state that “we no longer just have to dream as this

revolution of creating a cancer vaccine for N of 1 is at hand… and can be a lifelong legacy of

this Administration.”

       19.    Shortly after our meeting on October 6, 2015, Vice President Biden announced on

October 21, 2015 that he would not run for President of the United States, but would pursue his

commitment to the cause of fighting cancer: He stated at the news conference: “I believe we

need a moonshot in this country to cure cancer. It's personal. But I know we can do this. The

President and I have already been working hard on increasing funding for research and

development -- because there are so many breakthroughs just on the horizon in science and

medicine. The things that are just about to happen, we can make them real with an absolute

national commitment to end cancer as we know it today. And I'm going to spend the next 15

months in this office pushing as hard as I can to accomplish this. Because I know there are

Democrats and Republicans on the Hill who share our passion -- our passion to silence this

deadly disease.”




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       20.    Vice President Biden used the words from our white paper. Thus the assertion by

Dr. DePinho and Dr. Lynda Chin that we usurped the government’s moonshot is without basis.

In fact, on November 1, 2015, The New York Times published an article on Vice President

Biden’s desire to create a “moonshot” to cure cancer stating that in describing this moonshot,

Vice President Biden was adopting language from myself to describe his aspiration for cancer

research. The New York Times article states as follows:

       In describing this “moonshot,” Mr. Biden was adopting language used by Dr.
       Soon-Shiong to describe his aspiration for cancer research. The two met for an
       hour in the White House just a few weeks ago, and Dr. Soon-Shiong gave the vice
       president a two-page outline of what he had in mind.”

       …The two-page paper Dr. Soon-Shiong gave Mr. Biden, titled in part “The
       Moonshot Program to Develop a Cancer Vaccine,” advocates an expanded use
       of genome sequencing to understand individual cancers better and tailor
       treatments depending on their genetic characteristics. It forecasts the creation of
       patient-specific cancer vaccines that harness a person’s own “natural killer
       cells” to treat and prevent the recurrence of cancer.

       …The paper, obtained from an associate of Mr. Biden’s, proposes performing full
       genomic sequencing of 100,000 cancer patients in the next 400 days to create a
       vast database for supercomputer analysis, although no price tag is
       mentioned. “With 16 months to go, it is a perfect moment for the administration to
       deliver on this last mile, cementing this health care transformation into the fabric
       of health care,” it says.

Exhibit 15 is a copy of The New York Times article.

       21.    Vice President Biden wanted to learn more about the complexities of the immune

system and the challenges that face rapid development of life-saving drugs, and requested further

meetings to learn more of our program. On November 16th, 2015, Vice President Biden and his

staff visited our campus in Los Angeles for a briefing and spent approximately 3 hours on our

campus together with his staff and physician. Attached as Exhibit 16 are photos from Vice

President Biden’s visit to our Los Angeles campus on November 16, 2015. As can be seen from

Exhibit 16, Page 9, the words in the center circle state “Overcoming Obstacles” “The QUILT



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Coalition” “Moonshot for Cancer Vaccine” “The National Immunotherapy Initiative”. The

assertion by Dr. DePinho that we usurped the government’s moonshot initiative which was

announced two months later is without basis.

       22.    During the visit and briefing, I further informed the Vice President and his

attending time of the obstacles that the country needed to overcome to make a "quantum leap"

and execute a national collaboration to enable what would normally take 10 years to be

accomplished in 5 years. Attached are copies of photographs of the white boards (which we

have not erased), (Exhibit 16) showing my pictorial presentation to the Vice President in which

we described out moonshot program.        The language of “ten years to five” and “Our

MoonShot” (Exhibit 16) is seen on the white board and this was the language which ultimately

was published in the executive order (Exhibit 17) signed by President Obama on January 28,

2016, three months following Vice President Biden’s visit to our campus and the briefing on

Cancer MoonShot 2020. An excerpt of the executive order is shown below:

                                      The White House

                                 Office of the Press Secretary

                                    For Immediate Release

                                       January 28, 2016

                  Memorandum -- White House Cancer Moonshot Task Force
                                   January 28, 2016

                   MEMORANDUM FOR THE HEADS OF EXECUTIVE
                        DEPARTMENTS AND AGENCIES

                    SUBJECT: White House Cancer Moonshot Task Force
       Cancer is a leading cause of death, and cancer incidence is expected to increase
       worldwide in the coming decades. But today, cancer research is on the cusp of
       major breakthroughs. It is of critical national importance that we accelerate
       progress towards prevention, treatment, and a cure -- to double the rate of
       progress in the fight against cancer -- and put ourselves on a path to achieve



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         in just 5 years research and treatment gains that otherwise might take a
         decade or more. . . .

(Exhibit 17.)

         23.    At the November 16, 2015 meeting in Los Angeles, I also shared with Vice

President Biden that the most important element I believed that needed immediate attention, was

to bring large pharmaceutical companies together to allow combinations of drugs and encourage

the Food and Drug Administration (“FDA”) to allow novel combinations in next generation 21st

century clinical trials and provided him and his team another briefing paper entitled (Exhibit 18)

“The Moon Shot: A National Immunotherapy Initiative for the Conquest of Cancer. The

Cancer QUILT Coalition to Develop a Cancer Vaccine for N=1” outlining this premise,

which I provided to Vice President Biden during his visit of November 16, 2015. An excerpt is

below:

          The Moon Shot: A National Immunotherapy Initiative for the Conquest of
                                       Cancer

                The Cancer QUILT Coalition to Develop a Cancer Vaccine for N=1

         Background: In his seminal report on the “Cancer Crusade” Richard A. Rettig
         states, “The large issue that divided people the most had to do with how scientific
         research be supported to improve the health of the American public most
         effectively and rapidly? On this key issue there was and is today an underlying,
         unresolved conflict”. This issue stated in 1977 still remains today almost 40 years
         later.

         There are unique times when events and advances in technologies converge
         to elicit a quantum leap in progress. That time is now for the rapid exploitation
         of immunotherapy for the benefit of millions of cancer patients. The cloning of
         the human genome has led to an enormous knowledge base as to how cancers are
         initiated and progress. Over the last several years scientists studying the cancer
         process have elucidated the fact that the vast majority of cancers arise and
         progress due to numerous mutations in cancer cells. Moreover, for the most part,
         each patient’s cancer is unique in terms of the nature and number of mutations. It
         has now been realized that this is one of the major reasons why many existing
         therapeutic regimens designed to target a single or even a few mutations have had
         limited success to date.


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       The Age of Immunotherapy in Cancer: The human immune system has
       evolved over the millennia to combat an enormous range of invasive entities, such
       as viruses and bacteria; indeed, the immense diversity of the healthy, intact human
       immune system is believed to be responsible for eliminating many potentially
       cancerous cells that arise during a lifetime. This is evidenced by studies that have
       shown that individuals with impaired immune systems, such as long term AIDS
       patients, will develop more cancers than individuals with a normal immune
       system. It is this unique diversity and the remarkable ability to survey and
       eliminate harmful entities that defines the human immune system, which can be
       exploited to combat the individual mutations reflected in so-called neo-antigens in
       tumor cells. The potential thus now exists to develop immunotherapies tailored to
       the unique tumor signature of individual patients.

(Exhibit 18).

       24.      I shared with Vice President Biden our multiple prior efforts dating from 2009 to

accomplish this collaboration amongst clinicians, community oncologists, FDA, NCI, Payors,

and Pharma and specifically described our “Breakthroughs in Medicine and Technology

Summit," held in Jackson Hole, Wyoming in August 2015 to hold a three-day summit to address

these obstacles facing our nation and transforming cancer care. (Exhibit 19)

       25.      On November 16, 2015, I also provided Vice President Biden with a report titled

“Advancing Medical Innovation for a Healthier America” that shows our ongoing efforts in this

regard. Attached as Exhibit 20 is a copy of the report.

       26.      With these insights, Vice President Biden invited me to convene a meeting of

representatives from pharma, payors, FDA, and the National Cancer Institute and medical

oncologists both from academia and community. This four-hour meeting was held on December

1, 2015 at his residence on the Naval Observatory in Washington, D.C. It was hosted by Vice

President Biden, and he asked me to chair and run the agenda of the meeting which I did.

Attendees of the meeting included leadership from the FDA, NCI, Pharma, Payors, Community

Oncologists, DoD, and Academic Centers: (Exhibit 21). The concept, execution and timelines




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were spelled out in relative detail to each member in attendance in the form of a briefing booklet.

A copy of the briefing booklet is attached as Exhibit 24 and photographs from the meeting are

attached as Exhibit 25. The assertion made by Dr. DePinho and Dr. Lynda Chin that the FDA

and NCI were not aware or associated with Cancer MoonShot 2020 is false and the baselessness

of this statement is evidenced by the detailed notes that were taken during the discussions by the

attendees at the meeting for the purpose of providing a detailed proceeding of the members.

               a.     Robert M. Califf, M.D., U.S. Food and Drug Administration (FDA),

                      Deputy Commissioner for Medical Products and Tobacco:

                      “There come moments in time where we ask why drugs tested do
                      not work. I can remember that moment in cardiology 30 years ago
                      where we took out things that did not work and kept things that
                      did. We may be at that moment in time with cancer. The FDA is
                      here to act as the ‘cattle prod’ to accelerate this moment when we
                      are beginning to figure out how cancer works. The FDA is ready to
                      be part of this historic coalition where we can provide clinical trial
                      guidance for the combination of novel innovative agents brought
                      into the coalition from the Cancer Moon Shot Program 2020
                      members. By adopting innovative and adaptive clinical trials, the
                      QUILT coalition will shepherd in a period accelerated by
                      innovation in cancer treatment.”

               b.     Janet Woodcock, M.D., U.S. Food and Drug Administration (FDA),

                      Director of the Center for Drug Evaluation and Research (CDER):

                      “Current clinical trials are organized around disease rather than
                      immunology approaches. This traditional approach takes too long.
                      You can only answer one question at a time and it may take you
                      four years to answer one question about one drug and one tumor. It
                      takes too long and doesn’t give you enough information. We need
                      a large network to enroll a large number of patients. Almost all
                      cancer patients are never enrolled in clinical trials. Almost all of
                      them are never treated with investigational therapies. With regard
                      to combinations, FDA issued guidance a number of years ago
                      about investigational combinations. Development of Hepatitis C
                      drugs is an example. My personal opinion: I believe we are
                      approaching the science wrong. We have great basic science, we
                      learn all this information but we don’t test it in the clinic in an



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               efficient manner. Anything we learn from a mouse or human
               pathology is a hypothesis, and often the hypothesis is wrong when
               we test it in people. In complexities such as we face today in
               cancer where we have next generation sequencing, when we wish
               to combine chemotherapy with immunotherapy, when we wish to
               explore multiple combinations, you’re often asking five questions,
               not one. We need an engine that can turn around this knowledge
               rapidly and a process to help answer these questions
               effectively. An important issue is our need to involve the
               community, that’s where the patients are. To date, trials have been
               centered around major medical centers and these trials are slow to
               accrue, since patients do not want to leave their community and
               doctors do not want to send them to remote centers. We need to
               build an infrastructure that will support these community doctors
               and allow them to participate and have their patients participate in
               these clinical trials without losing their patients and without having
               their patients to go away.”

         c.    Peter W. Marks, M.D., Ph.D., U.S. Food and Drug Administration,

               Deputy Director for the Center for Biologics Evaluation and Research

               (CBER):

               “Our goal is to enable important pathways for progress to get
               important therapies to patients. We will not be the impediment on
               the critical path at the FDA. Evidence generation needs to happen
               and we will work to streamline the process for vaccine
               development.”

         d.    Jeffrey Schlom, Ph.D., Center for Cancer Research, National Cancer

               Institute, National Institutes of Health, Chief – Laboratory of Tumor

               Immunology and Biology:

               “This coalition that has been brought together by Dr. Soon-Shiong
               to address cancer is one of the most comprehensive sets of talents,
               and is quite unique. I’ve seen it all but I’ve never seen anything
               quite like this in my years. I’ve been there at the original war on
               cancer during the Nixon Administration and saw the bureaucracy
               on how it played out.

               The issue we face today in cancer care is a paradox. It is clear that
               immunotherapy can work in managing cancer but this approach is
               only working in about 20% of patients now. The problem we face



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               today is that there are about 2 dozen drugs in immunotherapy in
               the clinic right now and they are all being developed in silos by
               each individual company. This National Immunotherapy Coalition
               is designed to solve this problem. I’m extremely proud to be a part
               of this and have never seen a situation like this where we can get
               these trials done so rapidly. I’ve been revitalized, regenerated
               through this whole process.”

         e.    James L. Gulley, M.D., Ph.D., FACP Center for Cancer Research,

               National Cancer Institute, National Institutes of Health, Chief –

               Genitourinary Malignancies Branch:

               “We are seeing a sea change on how we are treating patients with
               cancer with immunotherapy. We are seeing deep durable and rapid
               responses to these new immunotherapy agents that unfortunately
               are only in the minority of patients and in some cancers there’s no
               responses at all. The best way to address these failures is to explore
               combination therapies and this National Immunotherapy Coalition
               is the vehicle to break down these silos and test these combinations
               rapidly. That’s the way we are going to make progress. I am proud
               to be part of this important and historic immunotherapy initiative.”

         f.    Col. Craig Shriver, MD, FACS (DOD) - Walter Reed National Military

               Medical Center, Director, John P. Murtha Cancer Center:

               “We validate big science through our clinical trials network. There
               are 1.2 million active duty military members, 9.3 million
               beneficiaries that receive military health care. That’s a huge
               network. Just in our active duty force, we get a thousand active
               duty members a year that come down with cancer. If a thousand
               active duty members were still getting injured in Afghanistan or
               Iraq, we would not accept this. So it’s the same thing with how
               militaries respond to infectious diseases, illnesses that affect the
               readiness of our active force. Cancer is that threat.”

         g.    Ralph H. Hruban, M.D., Johns Hopkins University – Director, Sol

               Goldman Pancreatic Cancer Research Center:

               “We are at a crossroads, a time of discovery that’s transforming the
               ways we manage cancer. Johns Hopkins researchers and clinicians
               are working tirelessly to understand cancer better and to move
               treatments from bench to bedside so that patients can have a better



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               shot at beating the disease. It is my hope that the National
               Immunotherapy Coalition, and others like it, will advance the
               understanding of cancer, not by small steps, but instead by leaps
               and bounds.”

         h.    Mark      C.   Poznansky,    M.D.,   Ph.D.,   Harvard   Medical   School;

               Massachusetts General Hospital Director, Vaccine & Immunotherapy

               Center:

               “The time is now to create an accelerated path, and advance
               medical science forward to save lives and improve health
               worldwide. The National Immunotherapy Coalition clearly unites
               and leverages the resources and expertise of a diverse network of
               medical and business professionals to safely and rigorously
               accelerate the pace of discovery, development and actualization of
               cancer treatment. By accelerating the development of new safe and
               cost effective therapies combating cancer, we can bring them to
               those that are most in need faster and more cost effectively than
               current approaches.”

         i.    Stephen D. Nimer, M.D., University of Miami Health System – Director,

               Sylvester Comprehensive Cancer Center:

               “Every day, the physicians and scientists within Sylvester
               Comprehensive Cancer Center’s site disease groups and
               multidisciplinary research programs, are working to make exciting
               breakthroughs that can transform the way cancer patients are
               diagnosed and treated. We look forward to working for the
               National Immunotherapy Coalition and developing the most
               innovative strategies to fight the most deadly forms of cancer.”

         j.    Azra Raza, M.D., Columbia University – Director, Myelodysplastic

               Syndrome Center:

               “We are very pleased to have the opportunity to work with the
               National Immunotherapy Coalition and collaborate with a world-
               class team who share a commitment to reduce cancer incidence
               and to improve the quality of life of those affected by cancer.
               Being able to pool resources and agents, we will be able to make a
               significant leap in developing new immunotherapeutic and
               combinations that will most benefit patients with various cancer
               types and stages.”



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         k.    Vivian S. Lee, M.D., Ph.D., M.B.A., University of Utah, SVP for Health

               Sciences; Dean, School of Medicine; CEO, University of Utah Health

               Care:

               “There really is a no more fascinating or promising time to be in
               medicine. The National Immunotherapy Coalition is an amazing
               opportunity to discuss obstacles that may impede the successful
               moonshot for cancer and reach the goal of establishing an effective
               vaccine for this disease in 5 years instead of 20. The University of
               Utah is deeply committed to solving these dilemmas and I, for one,
               am heartened that we will help lead the way.”

         l.    Andrew M. Evens, DO, MSc, FACP, Tufts University School of

               Medicine, Chief, Division of Hematology/Oncology; Director of Tufts

               Cancer Center:

               “I am honored to join a group of world-renowned expert
               physicians, scientists and researchers who have a shared passion
               for fighting cancer. Cancer can affect every aspect of a person’s
               life — and the lives of their loved ones. That's why we are
               dedicated to research that can bring new and innovative treatments
               to patients in less time.”

         m.    Paul Seligman, M.D., MPH, Amgen, Chief of R&D Policy:

               “At AMGEN, we are committed to using genomics and deep
               insights into biology to develop novel therapies for cancer. We are
               committed to the goals of collaborative research efforts in
               immuno-oncology and the development of innovative combination
               therapies. It is a time of unprecedented progress in our ability to
               understand how to harness the power of the immune system to
               treat tumors, and collaborative approaches represent a tremendous
               opportunity to combine the efforts of key stakeholders to
               accelerate progress.”

         n.    Patrick    Vallance,     GlaxoSmithKline,      President,   Research   &

               Development:

               “Modernizing our thinking and taking a more open and
               collaborative approach to our research will allow us to make



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               greater progress in the development of new cancer therapies for
               patients. Everyone recognizes the future of effective cancer
               treatments lies in their combinations, but understanding what to
               combine and how best to use these isn’t something companies can
               do alone. We could achieve much more together and I hope this
               National Immunotherapy Coalition will support the collection of
               data and sharing of information on existing treatments and those in
               clinical trials in a smart, collaborative way.”

         o.    Mikael Dolsten, M.D., Ph.D., Pfizer, Inc., President, Worldwide

               Research & Development:

               “The challenge of cancer is far too great for any of us to tackle
               alone. It is our hope that the joining together of the health
               innovation ecosystem under the National Immunotherapy Coalition
               will further accelerate the development of game changing,
               combination immunotherapies for the benefit of cancer patients.”

         p.    Frank R. Jones, Ph.D., Etubics Corporation, Chairman, President, and

               CEO:

               “At Etubics, we specialize in developing innovative
               immunotherapies and vaccines for a wide-range of resilient
               diseases including cancer, so it goes without saying that we are
               extremely excited about this new initiative. We recognize the value
               in an immune stimulation treatment approach and look forward to
               volunteering our agents for combination clinical trials that we
               anticipate will produce groundbreaking results.”

         q.    Jim Huffman, Bank of America, Senior Vice President, Head of US

               Health and Wellness Benefits:

               “Bank of America provides coverage for about 500,000 employees
               and their families and for the past five years has worked closely
               with NantHealth to explore innovative methods for improving
               health & wellness for their associates. We are doing our part to
               address an issue that affects the lives of our employees, our
               customers and clients, and the people in the communities we serve
               around the world. We are committed to providing the most
               advanced cancer care to our employees and the National
               Immunotherapy Coalition with its national footprint of oncologists
               practicing cutting edge medicine is a valuable resource we will
               now be able to offer to our 500,000 beneficiaries. Bank of America



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               has partnered with Dr. Soon-Shiong and his team over the past five
               years to bring advanced health and wellness to our associates and
               their families, and we are proud to be a part of this Cancer
               MoonShot 2020.”

         r.    Daniel J. Hilferty, Independence Health Group, President and CEO:

               “At Independence Blue Cross, we are proud to be the first major
               insurer offering reimbursement to our members for this next
               generation whole genome sequencing. We are committed to
               bringing state-of-the-art advances in oncology care to our members
               and making care accessible and affordable. Independence Blue
               Cross is committed to bringing state-of-the-art advances in
               oncology care. Although the science is still evolving, experts agree
               that immunotherapy is a game-changing approach that is expected
               to revolutionize the way we treat cancer in the future. We are
               proud to participate in the National Immunotherapy Coalition. We
               look forward to continued collaboration among this incredible
               team to develop the most innovative cancer fighting strategy in our
               lifetime.”

         s.    Paul M. Black, Allscripts, CEO & Director:

               “The National Immunotherapy Coalition is an exciting step
               towards a more efficient future in cancer treatment, partnering
               research and health information technology in an entirely new way.
               As a leader in healthcare information technology solutions, the
               EHR solution for the NIH and the NCI, we will play the critical
               role of connecting this newfound medical insight to the
               communities of healthcare professionals at the frontlines of care
               delivery. Combining the cutting edge research being done by
               NantWorks with the power of their Allscripts clinical information
               solutions will better harness the enormous volume of newly
               available data, allowing the dissemination of new discoveries
               much more rapidly to connected communities than has been
               possible in the past. We have seen already that when new research
               is presented in the clinicians' workflow efficiently and in a way
               that feels natural to them, it allows them to focus first and foremost
               on the well-being of all those dealing with cancer.”

         t.    John Chen, Blackberry, CEO:

               “At Blackberry, we understand the value that lies at the
               intersection of healthcare and technology, which is why we are
               constantly making advancements to reflect the ever-changing
               healthcare landscape. As we already power many of the tools that



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                       clinicians rely on heavily, we are confident that our involvement in
                       the National Immunotherapy Coalition will be an asset to the
                       future of Cancer treatment. This unique collaboration is pioneering
                       extraordinary solutions to cancer care and we are truly honored to
                       be a part of it.”
(Exhibit 26).

       27.      At the conclusion of the meeting, the participants reached a consensus. We

agreed that a formal announcement of “Cancer Moonshot 2020” would be made on January 11,

2016, at the nation’s largest health care conference sponsored by JP Morgan Chase in San

Francisco, where CEOs of pharma, payers and health systems routinely gather every year. A

press release was drafted and each member present at the Vice President’s meeting was offered

the opportunity to be quoted in the announcement. The press release announced the launch of

the “Cancer Moonshot 2020” program and the formation of the National Immunotherapy

Coalition. A copy of a final version of the press release is attached as Exhibit 22.

       28.      Unbeknownst to us (and I believe even unbeknownst to Vice President Biden),

the next day, on January 12, 2016, at the State of the Union address, President Obama announced

that Vice President Biden would serve as the head of the government’s version of the moonshot

program, which became known as the “National Cancer Moonshot Initiative.”                Notably,

President Obama announced the Government program the day after we announced the Cancer

Moonshot 2020 program.

       29.      Background regarding the goals of these “moonshot” initiatives was provided in a

June 2016 article in Nature Biotechnology.            The article describes the various moonshot

initiatives, including the National Cancer Moonshot Initiative, our Cancer Moonshot 2020

Program, and MD Anderson’s Moon Shots Program. Notably, when expressly asked whether

there was any concern about confusion between the various moonshot programs, none of the

representatives from any of the programs, including the University of Texas MD Anderson



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Cancer Center, expressed any concern. A copy of the article is attached as Exhibit 23.

          30.    President Obama’s Precision Medicine Initiative with Francis Collins is

approaching the issue at an epidemiological level in healthy volunteers, while Cancer Moonshot

2020 is laser focused on patients faced with cancer in the real world, to drive immunotherapy

and change the paradigm of care in the QUILT trials, with a timeline of accomplishment by

2020. Indeed, on September 17, 2015, Francis Collins, the Director of NIH provided a 108 page

report entitled “The Precision Medicine Initiative Cohort Program – Building a Research

Foundation      for   21st   Century   Medicine”    https://www.nih.gov/sites/default/files/research-

training/initiatives/pmi/pmi-working-group-report-20150917-2.pdf. The executive summary

states:

          “In order to achieve the President’s ambitious plan, the PMI Cohort Program
          (PMI-CP) will build a large research cohort of one million or more Americans
          that will provide the platform for expanding our knowledge of precision medicine
          approaches and that will benefit the nation for many years to come. In March of
          2015, NIH Director Dr. Francis Collins formed the PMI Working Group of the
          Advisory Committee to the Director to develop a plan for creating and managing
          such a research cohort. To help carry out its charge, the Working Group engaged
          with stakeholders and members of the public through workshops and requests for
          information, focusing on issues related to the design and oversight of the cohort.
          Public engagement, as well as internal discussions among the Working Group, led
          to the vision for the design and utility of the cohort program outlined in this
          report. The report includes recommendations in six areas critical to the
          development, implementation, and oversight of the PMI-CP: cohort
          assembly, participant engagement, data, biobanking, policy, and governance.
          In addition to the recommendations, the Working Group outlined the potential
          utility and unique opportunities that could be addressed by the PMI cohort.”
Notably, nowhere in the report is there evidence of the Cancer Moonshot program including:

clinical trial development for immunotherapy, neoepitope vaccines in patients actively afflicted

with cancer and integration with pharma and FDA for the development of novel-novel

combinations – all key elements of Cancer MoonShot 2020. Instead, the PMI focuses on targeted

therapy against disease-causing mutations. However, as we have pointed out in our briefing



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document to the Vice President that the finding of tumor heterogeneity, renders targeted therapy

alone incapable of curing the disease. In 2014, Gerlinger et al stated “…an illusion of clonal

dominance when assessed by single biopsies. The presence of sub clonal driver events in solid

tumours may provide an explanation for the inevitable acquisition of resistance to targeted

therapeutics in advanced disease”. Thus again, there is scientific disagreement as to the approach

to transform cancer care. Cancer MoonShot 2020 addresses this in a quantum method which we

have term “Quantum-Oncotherapeutics” to recognize the ever-changing mutations in patients

suffering from Cancer. The assertion by Dr. DePinho and Dr. Lynda Chin that Cancer MoonShot

2020 has usurped the Precision Medicine Initiative (PMI) initiated by President Obama and

developed by Francis Collins per his working group, is baseless.

        31.    We were surprised and deeply disappointed by the unusual action of filing a

lawsuit by the Board of Regent of the University of Texas, with no prior communication by the

leadership to raise and address any concerns with our name despite substantial national press

dating back to January 2016. In fact, I understand that the Board of Regents did not file any

trademark applications claiming rights in the “moonshoot” name until it filed this lawsuit in

October 2016. I have no idea why they would attempt to monopolize the common “moonshot”

name.

        32.    The Board states in its lawsuit that the reason they want to stop us from using the

Cancer Moonshot 2020 name is because they raised $380 million dollars for their program. We

made it very clear that Cancer MoonShot 2020 has not asked for one penny and this was again

re-iterated during my participation in the Vice President’s Blue Ribbon Panel, a working group

of the National Cancer Advisory Board. The Cancer Moonshot 2020 initiative is focused on

changing the paradigm in the care of the patient. It is not a fundraising tool. We were surprised




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and deeply disappointed by the unusual action of filing a lawsuit by the Board of Regent of the

University of Texas, with no prior communication by the leadership to raise and address any

concerns with our name despite substantial national press dating back to January 2016. In fact, I

understand that the Board of Regents did not file any trademark applications claiming rights in

the “moonshoot” name until it filed this lawsuit in October 2016. I have no idea why they would

attempt to monopolize the common “moonshot” name.

        33.     I was also disappointed to learn that the Board of Regents filed a First Amended

Complaint in which it devotes several pages to disparaging allegations regarding me and my

career. While I understand that this declaration is not the time or the place to respond to these

allegations, they are illustrative of the types of attacks that I have experienced when challenging

the status quo and traditional practices in the industry. However, personal attacks have little to

nothing to do with the fight against cancer, which we should all be focused on, and more to do

with apparent obsession over a name and fundraising.

        34.     In my opinion, we cannot afford to be distracted by the pettiness of the words in

the world of a patient facing a life-threatening disease such as cancer. It is not the name of a

program that is important. Treating cancer is not about words, treating cancer is about action.

When we launched Cancer MoonShot 2020, it was for a specific purpose -- to give the nation

hope and change, bring together a coalition of stakeholders from various sectors, and ensure that

by the year 2020 patients will receive combination immunotherapy without the ravages of high-

dose chemotherapy. That has been, and continues to be, our singular purpose. We cannot be

distracted by a war of words. What we are focused on is the interest of the patient. The trademark

is of little significance: the cure is.

        35.     To the best of my knowledge, none of these activities relating to the adoption and




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use of the Cancer Moonshot 2020 name involved the State of Texas.

Background on “moonshot” and the “Cancer 2020 Moonshot” Name

       36.     The word “moonshot” refers to a groundbreaking, ambitious program.            It is

inspired by President Kennedy’s aggressive and successful “moonshot” program to put an

American on the moon within a decade of his 1961 speech. In my view, “moonshot” is not a

name associated with a single program or a single entity or organization. It is a generic or

descriptive term used by several organizations in a variety of fields.

       37.     In January 2016, Nant Holdings IP, LLC filed trademark applications for “Cancer

MoonShot 2020, “Cancer MoonShot 2020 Foundation,” and “Cancer Moonshot Network News.”

The intent was not to stop others from using their own “moonshot” program names. Rather, I

was only interested in protecting the very specific name of the program that we were involved in.

To ensure freedom of use of the “moonshot” name by all, especially the world of community

oncologists where 80 percent of cancer care is administered.

       38.     The CANCER MOONSHOT 2020 trademarks were allowed by United States

Patent and Trademark Office.

Background on the Lack of Contacts with the State of Texas

       39.     I am a California citizen and resident. NantWorks is a Delaware limited liability

company whose principal place of business is located in Culver City, California. Nant IP is a

Delaware limited liability company whose principal place of business is located in Culver City,

California. NantHealth is a Delaware corporation whose principal place of business is located in

Culver City, California. However, NantHealth has an office in Dallas, Texas. In contrast,

NantWorks and Nant IP do not engage in business in the State of Texas and have not engaged in

business in the States of Texas at least for the past few years. I will refer to me, NantWorks and




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Nant IP as the California Defendants.

       40.     The California Defendants are not citizens or residents of Texas.

       41.     The California Defendants do not maintain a place of business in Texas.

       42.     The California Defendants do not maintain offices, mailing addresses, or

telephone numbers in Texas.

       43.     The California Defendants do not have any employees working in Texas.

       44.     The California Defendants are not licensed, registered, or authorized to do

business in Texas.

       45.     The California Defendants are not required to maintain and do not maintain a

registered agent for service of process in Texas.

       46.     The California Defendants have not filed any Articles of Organization or

operating agreements in Texas.

       47.     The California Defendants do not have any bank accounts located in Texas.

       48.     The California Defendants do not own any real property in Texas.

       49.     The California Defendants have not paid any income or property taxes to the State

of Texas.

       50.     To my knowledge, the California Defendants have not used the CANCER

MOONSHOT 2020 marks at issue in connection with any activity in the State of Texas. To my

knowledge, anyone with knowledge of any such use would be residents of California and any

documents relating to such use would be located in Culver City, California.




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